Case 4:11-cr-40037-SOH Document 745   Filed 05/25/12 Page 1 of 7 PageID #: 1879
Case 4:11-cr-40037-SOH Document 745   Filed 05/25/12 Page 2 of 7 PageID #: 1880
Case 4:11-cr-40037-SOH Document 745   Filed 05/25/12 Page 3 of 7 PageID #: 1881
Case 4:11-cr-40037-SOH Document 745   Filed 05/25/12 Page 4 of 7 PageID #: 1882
Case 4:11-cr-40037-SOH Document 745   Filed 05/25/12 Page 5 of 7 PageID #: 1883
Case 4:11-cr-40037-SOH Document 745   Filed 05/25/12 Page 6 of 7 PageID #: 1884
Case 4:11-cr-40037-SOH Document 745   Filed 05/25/12 Page 7 of 7 PageID #: 1885
